[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                     SCHEDULING AND DOCKETING ORDER
Pursuant to the party's stipulation, the court hereby orders that:
1. Objections to Motions to dismiss shall be filed no later than May 8, 2002.
2. Motions to dismiss shall be reclaimed on May 28, 2002 in order to facilitate docketing of all motions to dismiss on the same day.
3. Pretrial conference shall be scheduled for October 2002 for the purpose of settlement and, if the case is not settled, for the court to enter a scheduling order.
4. All motions for summary judgment must be filed prior to the date set by the court for the October 2002 pretrial.
5. The parties shall file separate pleadings for each case and use the docket number originally assigned to that case pursuant to the § 9-5
(c) of the Practice Book which provides that "The court files in any actions consolidated pursuant to this section shall be maintained as a separate file and all documents submitted by counsel or the parties shall CT Page 4649 bear the docket number and case title of the file in which it is filed."
____________________ Bryant J.